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American Financial Support Services, Inc. and US
Financial Freedom Center, Inc.

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

FEDERAL TRADE COMMISSION, CASE NO.: SACV 19-02109 JVS (ADSx)

Plaintiff;

VS. ANSWER OF JAY SINGH,

AMERICAN FINANCIAL SUPPORT

AMERICAN FINANCIAL SUPPORT SERVICES, INC. AND US FINANCIAL
SERVICES, INC., FREEDOM CENTER, INC. TO

ARETE FINANCIAL GROUP, a corporation,
also d/b/a Arete Financial Freedom,

ARETE FINANCIAL GROUP, LLC,

CBC CONGLOMERATE, LLC, also d/b/a
1file.org,

DIAMOND CHOICE INC., also d/b/a Interest
Rate Solutions,

J&L ENTERPRISE LLC, also d/b/a Premier
Solutions Servicing,

LA CASA BONITA INVESTMENTS, INC.,
f/k/a La Casa Bonita Investments LLC, also
d/b/a Education Loan Network, also d/b/a
Edunet,

US FINANCIAL FREEDOM CENTER, INC., a
corporation,

 

COMPLAINT

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

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CAREY G. HOWE, individually and as an
officer or manager of Arete Financial Group;
Arete Financial Group LLC; CBC Conglomerate
LLC; and La Casa Bonita Investments, Inc.,

ANNA C. HOWE, individually and as an officer
of CBC Conglomerate LLC,

SHUNMIN “MIKE” HSU, individually and as
an officer or manager of Arete Financial Group;
Arete Financial Group LLC; CBC Conglomerate
LLC; and La Casa Bonita Investment, Inc.,

RUDDY PALACIOS a/k/a RUDDY
BARAHONA, individually and as an officer of
Arete Financial Group; Arete Financial Group
LLC; and Diamond Choice Inc.,

OLIVER POMAZI, individually and as an
officer or director of Arete Financial Group;
Arete Financial Group LLC; and J&L
Enterprise, LLC, and

JAY SINGH, individually and as an officer of

American Financial Support Services, Inc.,
and US Financial Freedom Center, Inc.,

Defendants,
MJ WEALTH SOLUTIONS, LLC,
Relief Defendant.

 

 

TO ALL PARTIES HEREIN AND TO THEIR ATTORNEYS OF RECORD:

Defendants American Financial Support Services, Inc. (“AFSS”), US Financial
Freedom Center, Inc. (“USFFC”) and Jay Singh (“Singh”) answer the Federal Trade
Commission’s complaint for injunctive and other equitable relief as follows:

I Defendants admit that the FTC is purporting to bring an action for injunctive
and other relief, but defendants deny the remainder of Paragraph 1.

2a Defendants are without sufficient knowledge to form a belief as to the truth of

the allegations of Paragraph 2 and, on that basis denies the allegations.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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JU RISDICTION AND VENUE
3. Defendants admit that the FTC contends that this court has subject matter
jurisdiction under various statutes.
4. Defendants admit that the FTC believes that this case is properly venued under

various statutes.

PLAINTIFF
5. Defendants admit that the FTC is an independent agency of the United States

government created by statute.

6. Defendants admit that the FTC is authorized to initiate federal district court
proceedings, by its own attorneys, to enjoin violations of the FTC Act and the TSR, and to secure
such equitable relief as may be appropriate in each case, including rescission or reformation of

contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies.

DEFENDANTS
7. Defendants admit its incorporation and principal place of business and denies the
remaining allegations of Paragraph 7.
8. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations of Paragraph 8 and, on that basis denies the allegations.

9. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 9 and, on that basis deny the allegations.

10. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 10 and, on that basis deny the allegations.

11. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 11 and, on that basis deny the allegations.

12. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 12 and, on that basis deny the allegations.

13. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 13 and, on that basis deny the allegations.

14. Defendant USFFC admits its incorporations and its principal place of business and
denies the remaining allegations of Paragraph 14.

Individual Defendants

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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15. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 15 and, on that basis deny the allegations.

16. Defendant are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 16 and, on that basis deny the allegations.

17. Defendant are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 17 and, on that basis deny the allegations.

18. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 18 and, on that basis deny the allegations.

19, Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 19 and, on that basis deny the allegations.

20. Defendant Singh admits that he is an officer and director of AFSS and USFFC and
denies the remaining allegations of Paragraph 20.

Relief Defendant

21s Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations of Paragraph 21 and, on that basis deny the allegations.
COMMON ENTERPRISE

22. Defendants do not have any common ownerships with any of the other defendants.
There are no commons officers, directors or shareholders. There was no commingling of funds with
any of the other defendants. Defendants AFSS and USFFC solely had a contractual relationship with
La Casa Bonita Investments, LLC dba 1File.org. In addition to the above, defendants deny the
allegations set forth in Paragraph 22 of the Complaint.

COMMERCE

23. Paragraph 23 alleges a legal conclusion as opposed to facts. As to defendants AFSS,
USFFC and Singh, they deny the allegations set forth in Paragraph 23 of the Complaint.

24. Paragraph 24 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 24 of the Complaint and on that basis deny the allegations.

25. Paragraph 25 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of

the allegations of Paragraph 25 of the Complaint and on that basis deny the allegations.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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26. Paragraph 26 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 26 of the Complaint and on that basis deny the allegations.

27. Paragraph 27 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 27 of the Complaint and on that basis deny the allegations. |

28. Paragraph 28 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 28 of the Complaint and on that basis deny the allegations.

29. Paragraph 29 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 29 of the Complaint and on that basis deny the allegations.

30. Paragraph 30 alleges facts that do not relate to Defendants and appear to be opinions
and not facts as such defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 30 of the Complaint and on that basis deny the allegations.

31. Defendants AFSS, USFFC and Singh did not engage in any marketing to consumers
and did not communicate to consumers and therefore Defendants deny the allegations set forth in
Paragraph 31 of the Complaint.

32. The contracts between the consumers and either 1File.org or AFSS or USFFC clearly
indicate the nature of the services provided. Further, defendants deny the allegations set forth in
Paragraph 32 of the Complaint.

33, Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 33 and on that basis deny the allegations.

34. Defendants AFSS, USFFC and Singh did not and were not responsible for providing
services to consumers and therefore, Defendants are without sufficient knowledge to form a belief as
to the truth of the allegations of Paragraph 34 and on that basis deny the allegations.

35. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 35 and, on that basis deny the allegations.

36. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 36 and on that basis deny the allegations.

37. Defendants deny the allegations set forth in Paragraph 37 of the Complaint.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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38. | Defendants deny the allegations set forth in Paragraph 38 of the Complaint.

39. Defendants AFSS, USFFC and Singh did not engage in telemarketing and therefore
Defendants are without sufficient knowledge to form a belief as to the truth of the allegations of
Paragraph 39 and on that basis deny the allegations.

40. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 40 and on that basis deny the allegations.

41. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 41 and on that basis deny the allegations.

42. Defendants AFSS, USFFC and Singh neither set the price for the services nor
collected fees from consumers. Further, AFSS, USFFC and Singh were advised that consumers were
not charged advanced fees. Therefore, defendants are without sufficient knowledge to form a belief
as to the truth of the allegations of Paragraph 42 and on that basis deny the allegations.

43. Defendants specifically deny any knowledge that 1File.org charged an up-front fee or
utilized a third party to advance monies to fund the service fee. Defendants are without sufficient
knowledge to form a belief as to the truth of the remaining allegations of Paragraph 43 and on that
basis deny the allegations.

44. _ Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 44 and on that basis deny the allegations.

45. Defendants AFSS, USFFC and Singh were not directly involved in the enrollment of
the consumer and never communicated with a consumer related to a power of attorney, therefore
Defendants are without sufficient knowledge to form a belief as to the truth of the allegations of
Paragraph 45 and, on that basis deny the allegations.

46. Defendants assert that the contract with the consumer that they reviewed contains a
specific provision stating that the service provider is not affiliated with any governmental agency.
Further, Defendants AFSS, USFFC and Singh were not involved in the enrollment of consumers and
never provided of power of attorney to a consumer and never communicated with a consumer related
to a power of attorney. The power of attorney at issued was drafted by and in the name of 1File.org.
Therefore, defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 46 and on that basis deny the allegations.

47. Defendants are without sufficient knowledge to form a belief as to the truth of the

allegations of Paragraph 47 and on that basis deny the allegations.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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48. Defendants deny the allegations set forth in Paragraph 48 of the Complaint.

 

THE FTC ACT
49. Paragraph 49 alleges a legal conclusion, as opposed to facts.
50. Paragraph 50 alleges a legal conclusion, as opposed to facts.
VIOLATIONS OF THE FTC ACT
COUNTI

51. Defendants deny the allegations set forth in Paragraph 51 of the Complaint.

52. Defendants deny the allegations set forth in Paragraph 52 of the Complaint.

53. Defendants deny the allegations set forth in Paragraph 53 of the Complaint.

THE TELEMARKETING SALES RULE

54. Paragraph 54 alleges a legal conclusion, as opposed to facts.

55. Defendants did not engage in any telemarketing and therefore, Defendants deny the
allegations set forth in Paragraph 55 of the Complaint.

56. Defendants did not sell or telemarket “debt relief services” therefore, Defendants deny

the allegations set forth in Paragraph 56 of the Complaint.

 

D7. Paragraph 57 alleges a legal conclusion, as opposed to facts.
58. Paragraph 58 alleges a legal conclusion, as opposed to facts.
59. Paragraph 59 alleges a legal conclusion, as opposed to facts.
60. Paragraph 60 alleges a legal conclusion, as opposed to facts.
VIOLATIONS OF THE TELEMARKETING SALES RULE
COUNT II

61. Defendants AFSS, USFFC and Singh neither charged nor collected fees from
consumers, therefore, Defendants are without sufficient knowledge to form a belief as to the truth of
the allegations of Paragraph 61 and on that basis deny the allegations.

62. Defendants deny the allegations set forth in Paragraph 62 of the Complaint.

COUNT Il

63. Defendants AFSS, USFFC and Singh did not engage in telemarketing and therefore,
Defendants are without sufficient knowledge to form a belief as to the truth of the allegations of
Paragraph 63 and on that basis deny the allegations.

64. Defendants deny the allegations set forth in Paragraph 64 of the Complaint.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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65. Defendants AFSS, USFFC and Singh did not engage in telemarketing and therefore,
Defendants are without sufficient knowledge to form a belief as to the truth of the allegations of
Paragraph 65 and on that basis deny the allegations.

66. Defendants deny the allegations set forth in Paragraph 66 of the Complaint.

COUNT V

67. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 67 and on that basis deny the allegations.

68. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 68 and on that basis deny the allegations.

69. Defendants are without sufficient knowledge to form a belief as to the truth of the
allegations of Paragraph 69 and on that basis deny the allegations.

CONSUMER INJURY
70. Defendants deny the allegations set forth in Paragraph 70 of the Complaint.
THIS COURT’S POWER TO GRANT RELIEF

v1. Paragraph 71 is an interpretation of various statutes, not a factual assertion. To the
extent paragraph 71 is deemed to allege facts, defendants deny the allegations of paragraph 71.

72. Paragraph 72 appears to contain a simple legal conclusion, as opposed to a factual

assertion. To the extent paragraph 72 is deemed to allege facts, defendants deny the allegations of

 

 

Paragraph
AFFIRMATIVE DEFENSES
73. As separate, distinct, and affirmative defenses, defendants allege as follows:
FIRST AFFIRMATIVE DEFENSE (Failure to State a Claim)
74. The complaint, and each count in the complaint, fails to state a claim or cause of

action that would support the requested relief.
SECOND AFFIRMATIVE DEFENSE (Lawfulness)
75. The conduct complained of in the complaint is perfectly lawful and appropriate.
THIRD AFFIRMATIVE DEFENSE (Statute of Limitations)
76. The complaint addresses conduct that is barred by applicable statutes of limitations.
FOURTH AFFIRMATIVE DEFENSE (Lack of Proximate Cause)
77. The injuries alleged in the complaint were not proximately caused by the actions of

the defendants.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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FIFTH AFFIRMATIVE DEFENSE (Lack of Materiality)

78. The conduct alleged on the part of the defendants in the complaint does not constitute
a material misrepresentation or omission, and to the extent there was any misrepresentation or
omission, it was not material to a reasonable consumer. Defendants did not know and could not know
using reasonable care that any alleged misrepresentation or omission would be material to a
reasonable consumer.

SIXTH AFFIRMATIVE DEFENSE (Uncertainty of Pleading)

79. The complaint is uncertain, particularly in that it fails to distinguish between
defendants, and otherwise. Additional affirmative defenses may be available and the right to add
additional affirmative defenses as appropriate is expressly reserved.

PRAYER FOR RELIEF

Therefore, defendants AFSS, USFFC and Singh, ask this court to:

a. Deny all of the FTC’s claims for relief;

b. Deny the FTC’s request for a preliminary injunction;

c. Deny the FTC’s request for a permanent injunction;

d. Deny the FTC’s request for rescission, reformation, restitution or refund and/or

disgorgement of monies;

e. Deny the FTC’s request for costs;

f. Award defendants’ reasonable attorneys’ fees and costs; and

g. Award any further relief the court deems just and proper.

DATED: December? , 2019 WILLIAM R. MITCHELL, INC.

By: cit I —

William R. Mitchell

Attorneys for Defendants

Jay Singh, American Financial Support Services
Inc., and US Financial Freedom Center, Inc.

 

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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PROOF OF SERVICE

STATE OF CALIFORNIA
COUNTY OF ORANGE

I am employed in the County of Orange, State of California, I am over the age of 18 years and
at a party to the within action; my business address is 101 Pacifica, Suite 155 Irvine, CAI

(ON DECEMBER 2], 2019, I SERVED THE FOREGOING DOCUMENT DESCRIBED AS:
ANSWER OF JAY SINGH, AMERICAN FINANCIAL SUPPORT SERVICES, INC. AND US
FINANCIAL FREEDOM CENTER, INC. TO COMPLAINT

Said document was served on the interested party or parties in this action by placing a true copy
thereof, enclosed in a sealed envelope, and addressed as noted below.

Stephen T. Fairchild Richard McKewen

FEDERAL TRADE COMMISSION FEDERAL TRADE COMMISSION
915 Second Avenue, Suite 2896 10990 Wilshire Boulevard, Suite 400
Seattle, WA 98174 Los Angeles, CA 90024

(206) 220-6350 (310) 824-4300

// By Federal Express. | deposited in a box or other facility regularly maintained by the Federal Express
carrier, or delivered to a courier or driver authorized by said express service carrier to receive
documents for delivery, the above-described documents, together with a copy of this proof of service,
in an envelope or package designated by the said express service carrier, with delivery fees paid or
provided for, and addressed as indicated above.

/X/ By Mail. I am “readily familiar” with the firm’s practice of collection and processing correspondence
for mailing. Under that practice it would be deposited with the U. S. Postal Service on that same day
with postage thereon fully prepaid at Irvine, CA in the ordinary course of business. I am aware that on
motion of the party served, service is presumed invalid if postal cancellation date or postage meter date
is more than one day after date of deposit for mailing of affidavit.

/ / By Electronic Mail. By transmitting true copies of the above named document(s) thereof by electronic
mail from shelby@wrmbizlaw.com to the following e-mail addresses located on the service list.

/ / By Electronic Filing. I sent this document via electronic filing system (CM-ECF), to the email
addresses listed above.

/ / In Person. I personally delivered the documents to the attorney.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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I declare under penalty of perjury under the laws of the State of California that the above is true and

correct.
Date: December2? 2019 yl Luc
/ b +

U
Rhelby)Burt J C/

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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